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                                                                          2017-L-006026
                                                                          CALENDAR: D
                                                                           PAGE 1 of 47
                                                                       CIRCUIT COURT OF
               IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS        COOK COUNTY, ILLINOIS
                      COUNTY DEPARTMENT, LAW DIVISION                    LAW DIVISION
                                                                   CLERK DOROTHY BROWN

DAVID ISRAEL,                                   )             Case No. 2017- L-006026
                     Plaintiff,                 )
                                                )
      -vs-                                      )
                                                )             Hon. Janet Adams Brosnahan
MICHAEL BUCON, individually and as agent of )
James Adams and Xtreme Protection Services, LLC )
JAMES ADAMS, individually and as agent of       )
Xtreme Protection Services, LLC and             )
XTREME PROTECTION SERVICES, LLC,                )
                     Defendants.                )             Calendar D


                 AMENDED VERIFIED THIRD AMENDED COMPLAINT

       NOW COMES the Plaintiff, David Israel (“David”), by and through his attorneys, Weissberg

and Associates, Ltd, and as David’s Amended Verified Third Amended Complaint against Michael

Bucon, James Adams and Xtreme Protection Services, LLC, states as follows:

                                              PARTIES

       1.      Plaintiff, David Israel, is a resident of Cook County, Illinois who resides in the Gold

Coast neighborhood of Chicago, Illinois and maintains an office at 3100 Dundee Road, Northbrook,

IL. David also owned a residence in Highland Park, Illinois during the time of the actions detailed

herein that he subsequently sold in late 2015.

       2.      Defendant, James Adams (“Adams”), is an individual residing in Cook County,

Illinois. Adams is a licensed Private Security Contractor in the State of Illinois and, upon information

and belief, is the manager and member of Xtreme Protection Services, LLC (“Xtreme”). At all

relevant times herein, Adams provided security services to customers of Xtreme.

       3.      Defendant, Xtreme Protection Services, LLC, is an Illinois Limited Liability Company

with its principal office located at 21720 W Long Grove Rd #C #306, Deer Park, IL 60010. This

address, registered with the Illinois Secretary of State’s Office as Xtreme’s principal office, is a

                                                                                              EXHIBIT A
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                       United Parcel Service (UPS) mailbox. Upon information and belief, Xtreme does not maintain a

                       brick and mortar storefront nor does Xtreme maintain functional website. Xtreme is a licensed Private

                       Security Contractor Agency, whose full-time Illinois licensed private security licensee-in-charge, a

                       licensing requirement under Article 20 of the Private Detective, Private Alarm, Private Security,

                       Fingerprint Vendor, and Locksmith Act of 2004 (225 ILCS 447/25-15), is Adams.

                               4.      Defendant, Michael Bucon (“Bucon”), is an individual residing in Cook County,

                       Illinois. Bucon, at all times relevant herein, was an agent of Adams or Xtreme. Bucon was indicted

                       by the State of Illinois in People of the State of Illinois v. Bucon, in the Circuit Court of Cook County,

                       Case No. 17 CR 956 (“Bucon Criminal Case”) in connection with conduct pleaded herein. On April

                       21, 2017, Bucon pleaded guilty in the Bucon Criminal Case to criminal trespass, attempt cyber
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                       stalking, and attempt cyber stalking. A copy of the transcript from sentencing proceedings in the
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                       Bucon Criminal Case is attached hereto as Exhibit 1.

                                                          JURISIDICTION AND VENUE

                               5.      Jurisdiction is proper pursuant to 735 ILCS 5/2-209 as all defendants are domiciled in

                       the State of Illinois or conduct business in the State of Illinois.

                               6.      Venue is proper because the events giving rise to the causes of action occurred, in

                       substantial part, in Cook County, Illinois.

                                                      FACTS COMMON TO ALL COUNTS

                               7.      A long-simmering family feud is playing out in the Circuit Court of Cook County in

                       Israel v. Israel, Cook County Case No. 2012 L 3464 (McGrath, J.) (“Trust Case”). In that lawsuit,

                       Harey Israel, a son of the late Aaron Israel (once an Oak Street property owner), says his sister, Diane

                       Israel, should be removed as trustee of their father's trust because she can't be trusted to oversee their


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                       late father's affairs. Trial has been scheduled for October 23, 2017 and David is a crucial witness in

                       that trial.

                                8.    In the summer of 2015 Davd’s office, his residence and his cars were bugged by the

                       Defendants and from a period of July 2015 through August 2015. David also received multiple text

                       messages from an unknown phone number, (847) 379-1068, that were sent by the Defendants to

                       David to threaten and harass him, potentially from testifying in the Trust Case.

                                9.    On April 16, 2014, Ronan Moyal (“Moyal”) of Gladio Group Security arrived at

                       David’s Office and informed him that he had been hired by Diane to conduct surveillance on

                       David. Moyal informed that David that his phone, David’s Office, his Highland Park residence and
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                       the River North condominium are possibly bugged.
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                                10.   On April 18, 2014, Moyal returned to conduct a search for listening devices in David’s

                       office and found an electronic surveillance device with a 9 volt battery under David’s desk. A picture

                       of the electronic listening device found underneath David’s desk is attached hereto as Exhibit 2.

                                11.   On April 23, 2014, David’s brother Harey Israel (“Harey”) contacted Sergeant

                       Strickland of the Northbrook Police Department and at 4:30 PM, the Northbrook Police arrived at

                       David’s office with an evidence technician and took pictures of the electronic listening device. An

                       investigation ensued but no arrests were made.

                                12.   On or around May 2015, Bucon, an employee or agent of Xtreme, entered into the

                       building of 3100 Dundee Road, Suite Number 308, in Northbrook, Illinois, (“David’s Office”),

                       without consent. See Exhibit 1 at p. 10.

                                13.   While in Suite 308, Bucon placed two eavesdropping devices without consent. Id.


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                              14.       On July 14, 2015 at around 9:30 PM David was driving from Waukegan, IL to

                       Chicago, IL when he received a text message from an unknown person using the telephone number

                       (847) 379-1068 stating something to the effect of “Hello, how are you doing?”

                              15.       David responded to the text message that he did not know who that was, and then over

                       the course of two months he received multiple text messages from (847) 379-1068 disclosing time-

                       sensitive information that led David to reasonably believe that he was being harmed an in threat of

                       immediate physical danger. Screenshots of the images along with the date and time stamp of the text

                       messages are attached hereto as Group Exhibit 3.

                              16.       Upon receipt of the second text message stating that “I am your worst nightmare,”

                       David was especially considered about his safety and the safety of his adult children and
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                       grandchildren.
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                              17.       On July 17, 2017, while David was golfing at the Ravinia Country Club, he got a text

                       message stating “Don’t get too tan. I have a membership here too” from the (847) 379-1068 phone

                       number.

                              18.       Concerned that he was being followed, David contacted Moyal and relayed the content

                       of the text messages to him. Moyal trailed David to determine if he was being followed and after

                       trailing David for an extended period of time, informed David that he was not likely being followed

                       but that his car had a tracking device that was beaming his geographical location to unknown persons.

                              19.       Moyal then searched David’s car (a BMW) and found a GPS tracking device attached

                       with a magnet underneath the car’s rear fender. A picture of the GPS devise affixed to David’s car is

                       attached hereto as Exhibit 4.

                              20.       When Moyal discovered the GPS devise on David’s BMW, David immediately called

                       his brother Alan Israel, who had borrowed David’s second car, a Jeep, and was then in Iowa. David

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                       informed Alan about a GPS devise potentially being attached with a magnet to the back of the car.

                       Alan pulled into a gas station and conducted a search of the Jeep and found that at the back of the

                       Jeep underneath the rear-fender was a GPS similar to the one Moyal found on David’s BMW.

                              21.     David contacted the Northbrook Police Department on July 17, 2017 at around 5:30

                       PM and reported the threatening text messages and the GPS devises on both of his cars to the

                       dispatcher

                              22.     Officer Johnson of the Northbrook Police Department responded to David’s complaint

                       and spoke to him about the text messages and the GPS devises attached to his cars. David informed

                       Officer Johnson about contested matters in probate court regarding his father’s estate between him

                       and Diane, and about the police complaint he registered in 2014 regarding the audio bug underneath
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                       his desk.
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                              23.     Officer Johnson took photographs of the GPS tracking devise on the BMW that

                       contained within it an AT&T cellular SIM card bearing the number 89014103277703171616.

                              24.     The GPS tracking devise was a product of the Electroflip brand and was capable of

                       using the internal cellular chip to transmit its location via text message to any cellphone.

                              25.     On July 19, 2017 at 4:09 PM, David received another text message from the (847)

                       379-1068 number stating “The flower pot next to the door. I would like you to look at it. Admire it

                       for a moment.”

                              26.     Upon receipt of this text message, David panicked and conducted a thorough search

                       of his Gold Coast Condominium and found no suspicious items in any flower pots. David sent his

                       brother Harey to conduct a search of all flower pots in David’s Office and his Highland Park

                       Residence. Harey found no suspicious items in the flower pots in David’s Office.




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                               27.     David also contacted the Northbrook Police Department and Officer Johnson,

                       Sergeant Peterson and Officer Pozniak responded to David’s Office and checked the exterior of the

                       building but did not find any flower pots.

                               28.     The next day, on July 20, 2015, Moyal conducted an internal sweep of David’s Office

                       and found another eavesdropping devise in a large planter with artificial plants next to the printer

                       directly outside David’s inner office. A picture of the eavesdropping devise found on the planter in

                       David’s Office is attached hereto as Exhibit 5.

                               29.     David immediately called the Northbrook Police Department to inform them that he

                       had found the eavesdropping devise in his office.

                               30.     On July 20, 2017, Detective Meents responded to David’s Office and met with David,
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                       Harey Israel, Moyal and Rahimzadeh (Moyal’s co-worker). David showed Detective Meents the 2
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                       inch by 2 inch listening-devise, who took the devise into evidence after removing the SIM card from

                       the devise. The SIM card was also taken into evidence by the Northbrook Police Department.

                               31.     On July 21, 2017, after the Northbrook Police Department had confiscated the devise,

                       David received a text from the (847) 379-1068 number telling him “Hope you now have an idea what

                       I have against you. I call and we discuss or I escalate this to another level.” See Group Exhibit 3.

                       David immediately became nervous upon receiving this text message and believed that his contact

                       with the Northbrook Police Department would lead to retaliatory action against him. He believed his

                       life and his safety were in immediate danger.

                               32.     On the same day, David received texts from the (847) 379-1068 number saying “P.S.

                       All devices have audio recording capability from a remote location.” David became concerned that

                       there were even more audio recording devices around him and that those stalking him had access to

                       all his private real estate properties to install multiple listening devises.

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                              33.     On that same day, David received a text message saying “A bit hot to be wearing that

                       shirt don’t you think David? Let’s see where you end up I’m not too far.” These texts placed David

                       in immediate apprehension because he believed that someone was in close vicinity to him and was

                       stalking him as he walked in a long-sleeve shirt on a hot day. Having already contacted the

                       Northbrook Police Department and retained private security contractors, David felt helpless about

                       any other steps he may take to safeguard his privacy and to keep himself safe.

                              34.     On July 23, 2015, David receives at text message from (847) 379-1068 saying “We

                       are all coming for you David.” David, in attempting to respond to Harey, mistakenly responds here,

                       “Just got this. I’m in a meeting until 3:15 and we’ll talk then.”Bucon replies “That’s okay. I’ll

                       continue to listen.” David was especially concerned that private business meetings and phone calls
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                       in his David’s Office and private personal matters in his Gold Coast Condominium and Highland
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                       Park Residence were being recorded or bugged.

                              35.     In late-July of 2015, David met with lawyer Michael Ettinger at David’s Office to

                       discuss the stalking, the GPS devises, and the text-messages to assess potential legal action. They

                       discussed filing a claim for Intentional Infliction of Emotional Distress against Diane who they

                       believed was behind the intimidation and harassment.

                              36.     On August 5, 2015, Ettinger received text messages from phone number (847) 665-

                       9883 similar to the text messages that David was receiving. Etinger emailed David that he received

                       a text “Whose your friend who likes to play?” amongst others, and that he was having his investigators

                       look into the phone number.

                              37.     On August 10, 2015, Ettinger spoke with Officer Meents regarding the text messages

                       received by him and provided him with contact information of his private investigator James Miller




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                       who had traced the phone number as being registered to a Deborah Berg of 254 N. Branch, Glenview,

                       IL.

                              38.     David became increasingly paranoid about being followed and about his safety. David

                       talked to his brother-in-law, Gary Kalter, a former police officer and upon his advice began taking

                       tactical defense classes with Vanguard Training in Rosemont, IL from a former Delta Force instructor.

                              39.     To ensure that he was safe, he altered his lifestyle and would communicate his plans

                       for the following day to his brother Harey the night before, including when and where he was traveling

                       to in order for Harey to monitor his location and his safety.

                              40.     David also stopped visiting his children and grand-children as often as used to because

                       he was concerned that an attack on him when they were present would end up hurting his family
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                       members.
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                              41.     David also applied for a gun-license and a concealed carry permit to defend himself.

                              42.     On August 11, 2015, David received the following text from (847) 379-1068, stating

                       “hey David hope your week is going well, wanted to give you a little more information prior to us

                       meeting . by now you have attempted to uncover all the little ears that we have places…..but I’m

                       willing to bet you missed several….there was a teddy bear sent to you awhile back from a cancer

                       center……you might want to open the bear up, a big surprise awaits…..we know everything and have

                       been listening for quite awhile…keep that in mind, see you soon”

                              43.     Prior to August 11, 2015, David had received a teddy bear from a cancer center

                       thanking him for his charitable donation. David had placed this teddy bear on a credenza in his office

                       near his desk. On August 3, 2015, David and Harey had superficially searched the pink teddy bear

                       on the credenza but did not feel anything hidden in the stuffing. They became concerned that the


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                       teddy bear could have anthrax or other poisonous substance hidden within it, not just an audio

                       recording devise.

                              44.        Later that day, Moyal came to David’s office and cut open the teddy bear and inside

                       the teddy bear was a listening devise which contained an AT&T cellular SIM card number

                       89014103278021134450. A copy of the pink teddy bear on the credenza with the listening devise

                       inside it is attached hereto as Exhibit 6.

                              45.        On August 18, 2015, David was served with a summons and complaint alleging

                       Intentional Infliction of Emotional Distress (“IIED”) in the case captioned Israel v. Israel, Case No.

                       2015 L 007862 filed in the Circuit Court of Cook County, Illinois. This case was later voluntarily
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                       dismissed by Diane.
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                              46.        David was surprised to see IIED claim filed against him because in his late-July

                       meeting with Ettinger there was discussion about filing an IIED claim against Diane. After that

                       meeting Ettinger had received text messages from an unknown number, supra ¶ 34.

                              47.        Around this time, David stopped talking about any legal issues in David’s Office or

                       the Highland Park residence and would visit public places to discuss any legal matters.

                              48.        On August 24, 2015, Officer Meents of the Northbrook Police Department received

                       from AT&T information responding to a subpoena he had sent them regarding the (847) 379-1068

                       number and the SIM cards from the GPS tracking devise on David’s BMW. The SIM card had from

                       the period of July 6, 2015 to July 17, 2015:

                                    a.   2,033 calls/texts that originated from the GPS tracker and terminated to 312-953-0300

                                    b. 651 calls/texts that originated from the GPS tracker and terminated to 262-422-1380.

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                                    c. 98 calls/texts that originated from 312-953-0300 and terminated to the GPS tracker

                                    d. 6 calls/texts that originated from 288-090-0909 and terminated to the GPS tracker

                              49.      Officer Meents then sent subpoenas to AT&T and Verizon Wireless regarding the

                       phone numbers mentioned above. Verizon and AT&T responded to the subpoenas on September 2,

                       2015 and provided that 312-953-0300 belonged to Michael Bucon with an address of 6719 S. 91st St.,

                       Oak Lawn, Illinois. Verizon Wireless subpoena-response shows phone 262-422-1380 belonged to

                       Michael Bucon with an address of 1600 Michigan Blvd., Racine, Wisconsin.

                              50.      On September 3, 2015, Officer Meents and Detective Schultz responded to 6719 W.

                       91st St. in Oak Lawn. They knocked on the front door of the residence and were met by Michael
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                       Bucon who agreed to speak with them. When the officers asked him what his phone number was,
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                       Bucon stated 312-953-000. When asked if there was any reason why his phone was making contact

                       with the GPS tracker on the bottom of David’s BMW, Bucon confessed that his boss had told him to

                       do so. He stated his boss could explain the contact in more detail to the officers.

                              51.      Bucon stated his boss was James Adams and his phone number was 941-234-6128.

                       He stated he had been working for Adams’ company, Xtreme Protection Services, LLC.

                              52.      Bucon subsequently fled the country and went to Mexico. Officer Meents traced

                       Bucon’s Facebook activity and the IP address registered with the activity belonged to a large Mexican

                       internet services provider.

                              53.      On April 4, 2016, the Department of Homeland Security contacted Officer Meents and

                       informed him that Bucon was on a flight from Mexico to Chicago-O’Hare International Airport.

                       Officer Delderfield of the O’Hare tactical unit took custody of Bucon and arrested him and transported

                       him to 26th and California.
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                                54.     Bucon pleaded guilty in the Bucon Criminal Case to criminal trespass, attempt cyber

                       stalking, and attempt cyber stalking. See Exhibit 1.

                                       COUNT I: EAVESDROPPING IN VIOLATION OF 720 ILCS 5/14-2

                                55.     Plaintiff hereby incorporates all prior allegations as if fully pleaded herein.

                                56.     720 ILCS 5/14-6 titled “Civil Remedies to Injured Parties” provides for a private cause

                       of action against all parties who commit an act of eavesdropping as defined in 720 ILCS 5/14-2.

                                57.     Using a recording device in a surreptitious manner for the purpose of overhearing any

                       private conversation without the consent of all parties is a violation of the Illinois Eavesdropping

                       Law, as amended by Public Act 98-1142 in 2014.
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                                58.     Bucon, an employee of Xtreme, pleaded guilty to cyber-stalking, stalking and criminal
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                       trespass to real property in his criminal case, People v. Bucon, Case No. 17 CR 956, and admitted and

                       pleaded guilty to installing listening devices and overhearing private conversations without the

                       consent of all parties.

                                59.     Bucon was acting as Adams and Xtreme’s agent and had no independent reason to

                       stalk David and install listening devices in David’s premises and the car.

                                60.     Pursuant to 720 ILCS 5/14-6, Defendants are liable for all actual damages suffered by

                       David.

                                61.     David’s actual damages included the retention of cyber-security experts, private

                       detectives and attorneys and resulted in damages in excess of $30,000.00.

                                WHEREFORE, Plaintiff, David Israel, prays for the entry of a judgment against Defendants

                       for an amount not less than $30,000; and for such other relief as this Court deems just and proper.

                                      COUNT II: INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

                                62.     Plaintiff herein realleges all prior allegations as if fully stated herein.
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                              63.      Defendants’ conduct in continuously stalking David, eavesdropping on private

                       conversations without consent, and sending threatening text messages to David comprises extreme

                       and outrageous behavior and goes beyond oppressions and petty trivialities.

                              64.      Defendants intended and knew that extreme distress will result from their actions but

                       went ahead with their actions in a scheme to intimidate and harass David.

                              65.      The continuous stalking and text messages caused David extreme emotional distress

                       and led him to change his lifestyle in the following ways:

                                    a. He applied for a gun permit and a license for a conceal and carry;

                                    b. He took tactical self-defense classes with Vanguard Training to ensure his safety if

                                       attacked;
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                                    c. He limited his interactions with his family and friends in order to prevent them from
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                                       any violence that may ensue because of him;

                                    d. He reported all his daily activity and meetings to Harey Israel beforehand so that he

                                       could be tracked and monitored for safety.

                                    e. He had to retain security experts to find the listening devises and provide protection

                                       services to him.

                                    f. He had to have all legal matters be discussed outside his office and his residence in

                                       order to prevent eavesdroppers from using that information against him.

                              66.      David has lived in a state of constant anxiety and is apprehensive for his safety and for

                       the safety of those around him. Because of the threats and the stalking that he has had to endure, he

                       is a state of constant vigilance and anxiety.




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                              WHEREFORE, Plaintiff, David Israel, prays for the entry of a judgment against Defendants

                       for nominal actual damages and for punitive damages to be determined by a jury but not less than

                       $50,000.00; and for such other and further relief as this Court deems just and proper.

                                                             COUNT III: OUTRAGE

                              67.     Plaintiff herein realleges all prior allegations as if fully stated herein.

                              68.     Defendants’ conduct in continuously stalking David, eavesdropping on private

                       conversations without consent, and sending threatening text messages to David comprises extreme

                       and outrageous behavior and goes beyond all bounds of decency.

                              69.     Defendants’ actions resulted in David to be without any expectation of privacy at any
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                       point of the day for a period of two months.
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                              WHEREFORE, Plaintiff, David Israel, prays for the entry of a judgment against Defendants

                       for nominal actual damages and for punitive damages to be determined by a jury, but not less than

                       $50,000.00; and for such other and further relief as this Court deems just and proper.

                                COUNT IV: RECOVERY OF CIVIL DAMAGES PURSUANT TO 18 U.S.C. § 2520
                                              (FEDERAL WIRETAPPING ACT)
                              70.     Plaintiff herein realleges all prior allegations as if fully stated herein.

                              71.     Section 2520(a) of the Federal Wiretapping Act provides that “any person whose wire,

                       oral or electronic communication is intercepted, disclosed or intentionally used in violation on this

                       chapter may in a civil action recover from the person or entity, other than the United States, which

                       engaged in that violation such relief as may be appropriate.”

                              72.     Section 2520(c) of the Federal Wiretapping Provides that the damages that may be

                       recovered by a plaintiff brining a civil cause of action in the amount that is the greater of: (i) the sum

                       of actual damages suffered by the plaintiff and any profits made by the violator, or (ii) statutory

                       damages of $100 a day for each day of the violation or $10,000.
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                              73.     Bucon, Adamas and Xtereme intercepted David’s phone calls and conversations at

                       3100 Dundee Road for a period exceeding 90 days from May 2015 to July 2015.

                              74.     David’s actual damages included the retention of cyber-security experts, private

                       detectives and attorneys and resulted in damages in excess of $30,000.00.

                              WHEREFORE, Plaintiff, David Israel, prays for the entry of a judgment against Defendants

                       in an amount not less than $30,000, and for such other relief as this Court deems just and proper.

                                                 COUNT V: INTRUSION UPON SECLUSION

                              75.     Plaintiff herein realleges all prior allegations as if fully stated herein.

                              76.     The Illinois Supreme Court recognizes that one who intentionally intrudes, physically
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                       or otherwise, upon the solitude or section of another or his private affairs or concerns, is subject to
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                       the liability to the other for invasion of his private affairs or concerns, is subject to liability to the

                       other for invasion of his privacy, if the intrusion would be highly offense to a reasonable person.”

                              77.     The place of recording devices on the Northbrook Property and David’s car was

                       unauthorized, objectively unreasonable, and was necessarily meant to intrude upon private matters.

                              78.     Defendants listened in on private matters, including conversations between David and

                       his attorney concerning ongoing and potential litigation, and personal conversations and activities at

                       David’s Gold Coast Residence, David’s Office and Highland Park Residence.

                              WHEREFORE, Plaintiff, David Israel, prays for the entry of a judgment against Defendants

                       in an amount not less than $30,000, and punitive damages in the amount of $1 million; and for such

                       other relief as this Court deems just and proper.

                                                             COUNT VI: TRESPASS

                              79.     Plaintiff herein realleges all prior allegations as if fully stated herein.

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                               80.    From May, 2015 and continuing through August, 2015, Defendants, without

                       authorization of consent, entered in David’s Office and installed audio recording devices therein.

                       Defendants also installed GPS devices, without authorization, in David’s vehicles, the BMW and the

                       Jeep.

                               WHEREFORE, Plaintiff, David Israel, prays for the entry of a judgment against Defendants

                       in an amount not less than $30,000, and punitive damages in the amount of $1 million; and for such

                       other relief as this Court deems just and proper.


                                                                                Respectfully submitted,

                                                                                DAVID ISRAEL, Plaintiff
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                                                                                By: ___________________________
                                                                                       One of his attorneys


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                       Case: 1:17-cv-06452 Document #: 1-1 Filed: 09/07/17 Page 20 of 49 PageID #:25
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                       Case: 1:17-cv-06452 Document #: 1-1 Filed: 09/07/17 Page 21 of 49 PageID #:26
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                                                                     CIRCUIT COURT OF
              IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS       COOK COUNTY, ILLINOIS
                                                                       LAW DIVISION
                     COUNTY DEPARTMENT, LAW DIVISION              CLERK DOROTHY BROWN

DAVID ISRAEL,                           )     Case No. No. /
                      Plaintiff,        )
                                        )
               v.                       )
                                        )
MICHAEL BUCON, individually and         )     Honorable Patricia O'Brien Sheahan
as agent of James Adams and Xtreme      )     Room 2207
Protection Services, LLC, JAMES         )
ADAMS, individually and as agent of     )
Xtreme Protection Services, LLC and     )
XTREME PROTECTION SERVICES,             )
LLC,                                    )
                     Defendants.        )     Calendar D

                                   NOTICE OF FILING

TO:    See Attached Service List

        PLEASE TAKE NOTICE THAT on August 9, 2017, we caused to be filed with the Clerk
of the Circuit Court of Cook County, Illinois, AMENDED VERIFIED THIRD AMENDED
COMPLAINT, a copy of which is attached hereto and served upon you.

                                        DAVID ISRAEL, Plaintiff




                                        By:______________________
                                            One of his attorneys


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                          Case: 1:17-cv-06452 Document #: 1-1 Filed: 09/07/17 Page 49 of 49 PageID #:54




                                                      CERTIFICATE OF SERVICE



                              I, Ariel Weissberg, certify that on August 9, 2017, I caused to be served AMENDED
                       VERIFIED THIRD AMENDED COMPLAINT upon the following parties by electronic
                       transmission:

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                       Daniel Lynch, Esq.
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                                                       ______________________
                                                           Ariel Weissberg
